     Case 1:14-cr-00226-DAD-BAM Document 121 Filed 03/02/18 Page 1 of 2



 1    WANGER JONES HELSLEY PC
      265 E. River Park Circle, Suite 310
 2    Fresno, California 93720
      Telephone: (559) 233-4800
 3    Facsimile: (559) 233-9330
 4    Peter M. Jones, Esq. SBN# 105811
 5    Attorneys for:        Defendant, VICTOR ALFONSO PEREZ VIRGEN

 6
 7                                UNITED STATES DISTRICT COURT

 8                               EASTERN DISTRICT OF CALIFORNIA

 9
10   UNITED STATES OF AMERICA,                             Case No.: 1:14 CR00226 DAD BAM
11                     Plaintiff(s),                       WAIVER OF DEFENDANT’S
                                                           PERSONAL PRESENCE AT
12            v.
                                                           PRETRIAL PROCEEDINGS;
13   VICTOR ALFONSO PEREZ VIRGEN,                          ORDER THEREON

14                     Defendant(s).

15
16
17
18
19                      Pursuant to F.R. Crim. P. 43(b)(3), Defendant, VICTOR ALFONSO PEREZ

20    VIRGEN, renews his previously granted request to be absent from all pretrial hearings, to

21    include the hearing scheduled for March 5, 2018 at 10:00 a.m., before District Court Judge

22    Dale A. Drozd to reschedule his trial confirmation and jury trial dates.

23                      Mr. Virgen has been advised of his right to be present at all stages of the

24    proceedings, and hereby requests that this Court proceed in his absence on, Monday, March 5,

25    2018, and any other occasion that the Court may permit, pursuant to this waiver. Mr. Virgen

26    continues to reside in Lodi, California with his wife and three children, and is gainfully

27    employed in that area full-time. Defendant agrees that his interests shall be represented at all

28    times by the presence of his attorney, Peter M. Jones, the same as if Defendant were personally

      {7539/002/00537161.DOC}                         1
       ____________________________________________________________________________________________________
           WAIVER OF DEFENDANT’S PERSONAL PRESENCE AT PRETRIAL PROCEEDINGS; [PROPOSED] ORDER THEREON
     Case 1:14-cr-00226-DAD-BAM Document 121 Filed 03/02/18 Page 2 of 2



 1    present, and requests that this court allow his attorney-in-fact to represent his interests at all

 2    times that may be permitted. Defendant further agrees that notice to Defendant’s attorneys that

 3    Defendant’s presence is required will be deemed notice to the Defendant of the requirement of

 4    his appearance at said time and place.

 5                      Mr. Virgen is now and consistently has been in compliance with all his

 6    conditions under Pretrial Services since his release.

 7    Dated: March 1, 2018                            /s/ VICTOR ALFONSO PEREZ VIRGEN
                                                      VICTOR ALFONSO PEREZ VIRGEN
 8
 9
      Dated: March 1, 2018                        WANGER JONES HELSLEY PC
10
11
12                                                By /s/ PETER M. JONES                     _
                                                     PETER M. JONES, Attorney for
13                                                   Defendant, Victor Alfonso Perez Virgen
14
15
16                                                  ORDER
17
18                      GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant’s
19    appearance may be waived and excused from appearing at the pretrial conference set for
20    Monday March 5, 2018 at 10:00 a.m. to reschedule his trial confirmation and jury trial dates.
21
      IT IS SO ORDERED.
22
          Dated:       March 2, 2018
23                                                         UNITED STATES DISTRICT JUDGE
24
25
26
27
28
      {7539/002/00537161.DOC}                         2
       ____________________________________________________________________________________________________
           WAIVER OF DEFENDANT’S PERSONAL PRESENCE AT PRETRIAL PROCEEDINGS; [PROPOSED] ORDER THEREON
